                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION

PATRICK MANIACI, Individually and on Behalf )          Case No.: 18-cv-200
of All Others Similarly Situated,           )
                                            )          PLAINTIFF’S BRIEF IN
                                            )          OPPOSITION TO DEFENDANT’S
               Plaintiff,                   )
        vs.                                 )          MOTION TO DISMISS
                                            )
THE RECEIVABLE MANAGEMENT                   )
SERVICES CORPORATION, D/B/A/ RMS,           )          Hon. William E. Duffin
                                            )
                                            )
               Defendant.                   )

       Plaintiff Patrick Maniaci (“Maniaci” or “Plaintiff”), through counsel, submits the

following brief in opposition to Defendant The Receivable Management Services Corporation

d/b/a RMS’ (“RMS” or “Defendant”) motion to dismiss (Dkt. Nos. 18, 19).

                                        INTRODUCTION

       On February 5, 2018, Plaintiff filed a complaint alleging RMS mailed him a confusing

and misleading debt collection letter, in violation of the federal Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) (Dkt. No. 1). RMS moved to dismiss the complaint

on March 28, 2018. (Dkt. Nos. 10 and 11). On April 13, 2018, Plaintiff filed a motion to amend

the complaint as of course, along with a proposed amended complaint, which clarified how RMS

violated the FDCPA, and alleged that RMS also violated the Wisconsin Consumer Act, Chs.

421-427, Wis. Stats. (“WCA”). (Dkt. No. 15). The motion to amend was granted, and the

proposed Amended Complaint was entered on May 2, 2018. (Dkt. Nos. 16 and 17). RMS filed a

motion to dismiss the Amended Complaint on May 16, 2018. (Dkt. Nos. 18 and 19). Because

Plaintiff has stated viable claims, the Court should deny RMS’ motion.




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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 1 of 30 Document 20
        The complaint alleges that RMS mailed Plaintiff and a class of similarly situated

individuals initial debt collection letters that included the debt validation notice that the FDCPA

requires debt collectors mail to consumers, but also included two statements that contradict,

conflict with, overshadow, and confuse the validation notice. First, RMS’ letter deceives the

unsophisticated consumer by stating that, “If you have not yet been contacted by an RMS

representative, you will be receiving a call to bring this matter to a resolution,” which misleads

the consumer to believe he does need not notify RMS that the debt is disputed to avoid RMS

assuming the debt is valid. Second, RMS’ letter also states that the consumer must provide his

“claim number,” which falsely implies to the unsophisticated consumer that RMS is not required

to process his dispute unless he provides this information. 15 U.S.C. § 1692g; (Dkt. No. 17

(“Am. Compl.”), Exhibit A.).

        The validation notice informs the consumer that he has 30 days to notify the debt

collector that the debt is disputed, and that the debt collector will provide verification if he

disputes it in writing during the thirty-day period. If he disputes it during the thirty-day period,

the debt collector cannot assume the debt is valid. If he disputes it in writing during the thirty-

day period, the debt collector must also cease collection until it provides verification of the debt

or a copy of judgment. 15 U.S.C. § 1692g(b). If the consumer notifies the debt collector that the

debt is disputed after the thirty-day period, the debt collector may continue to assume the debt is

valid and can continue collecting it, even if there is a written dispute. 15 U.S.C. § 1692g(b).1




1
  Notably, consumers do retain some dispute rights after the thirty-day period. For example, even though
the debt collector is not required to cease collection or provide verification when a debt is disputed after
the validation period has run, it still must include the dispute in the consumer’s credit report and must not
communicate information about the debt to third parties without noting the dispute. 15 U.S.C. §
1692e(8); Evans v. Portfolio Recovery Assocs., L.L.C., 2018 U.S. App. LEXIS 11372 (7th Cir. 2018).
                                                      2



         Case 2:18-cv-00200-WED Filed 05/30/18 Page 2 of 30 Document 20
       RMS’ debt collection letter impermissibly contradicts and overshadows the disclosure

that the consumer must notify the debt collector that the debt is disputed within thirty days. The

letter plainly implies to the consumer that RMS is going to contact him by telephone within

thirty days and, therefore, that he does not need to affirmatively notify the debt collector about

his dispute to prevent the debt collector from assuming the debt is valid. Hence, the statement

contradicts and overshadows the disclosure of the consumer’s dispute rights because it

encourages consumers to wait for RMS to telephone the consumer. As long as RMS waits 30

days before telephoning the consumer (at which point, the validation period would have ended),

RMS could assume that the debt is valid and could continue collecting the debt, even if the

consumer disputed it. Moreover, RMS’ letter also deceives the consumer by implying that RMS

is not required to process the consumer’s dispute unless he provided his “claim number.” The

representation that a debt collector need not process disputes without the consumer’s account

number is a false statement that directly contradicts the plain meaning and purpose of the

FDCPA.

       In its motion to dismiss, RMS asserts that its letter does not confuse or overshadow the

validation notice because the debt collector is allowed to request the consumer’s account

number, (Dkt. No. 19 at 5-7, 9-10), and because the statement that RMS will call the consumer

does not confuse the validation notice, or mislead the consumer as to his dispute rights. (Dkt.

No. 19 at 8, 10-13). RMS further argues that its conduct does not violate the WCA because it

does not violate the FDCPA. (Dkt. No. 19 at 13).

       RMS’ arguments fail on all three counts. First, the unsophisticated consumer would

reasonably believe that “IMPORTANT: REFER TO CLAIM NUMBER IN ALL



                                                 3



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 3 of 30 Document 20
COMMUNICATIONS” could mean that RMS would not be required to process the consumer’s

dispute unless he provided his claim number. Although a debt collector may ask the consumer to

provide his account number, it may not mislead him to believe that he must provide it. Second,

the unsophisticated consumer would reasonably believe that, “If you have not yet been contacted

by an RMS representative, you will be receiving a call to bring this matter to a resolution,”

meant that RMS would be telephoning him during the next thirty days. The statement that RMS

will telephone the consumer within thirty days directly contradicts the § 1692g(a)(3) disclosure

that the debt collector will assume the debt is valid unless the consumer notifies the debt

collector that it is disputed within thirty days after receiving the notice. It also confuses the

consumer about his validation rights by implying that he could preserve all of his rights by

disputing the debt by phone at that time, rather than in writing. Finally, it also confuses the

consumer to believe that RMS will call him even if he disputes the debt in writing, even though

RMS could not continue its collection attempts until after it provided verification of the debt.

       Because the FDCPA prohibits false and misleading statements, generally, and

specifically prohibits statements that may confuse or overshadow the validation notice, RMS’

letter violates the FDCPA as a matter of law. RMS’ arguments that its letter could not plausibly

deceive the consumer are without merit and the motion to dismiss should be denied.

                                   FACTUAL BACKGROUND

       Plaintiff Patrick Maniaci is an individual who resides in the Eastern District of

Wisconsin. (Am. Compl. at ¶ 3.) Plaintiff is a “consumer” as defined in the FDCPA, 15 U.S.C.

§ 1692a(3), in that RMS attempted to collect from him a debt incurred for personal, family or

household purposes. (Compl. at ¶¶ 4, 10-11.) RMS is a debt collector who mailed a debt



                                                   4



         Case 2:18-cv-00200-WED Filed 05/30/18 Page 4 of 30 Document 20
collection letter to Plaintiff regarding an alleged debt owed to “VONAGE.” (Compl. at ¶¶ 5-10,

Exhibit A.)

       The reverse side of RMS’ letter includes the debt validation notice that the FDCPA

requires to be included with the initial written communication to the consumer pursuant to 15

U.S.C. § 1692g. The face of the letter contains the following statements, which Plaintiff alleges

contradict the validation notice:




...




(Am. Compl., ¶¶ 16, 17).

       The statement that RMS would call the consumer is confusing and misleading. The

unsophisticated consumer would understand it to mean that RMS would be contacting the

consumer within thirty days, and that he could dispute the debt at that time. (Am. Comp. ¶¶ 27-

32). If RMS did not call within thirty days, the consumer would have foregone his rights to

prevent RMS from assuming the validity of the debt and require RMS to provide verification of

the debt. (Am. Compl. ¶¶ 33-35). The statement: “IMPORTANT: REFER TO CLAIM

NUMBER IN ALL COMMUNICATIONS” (all capital letters in the original) is also confusing

and misleading because the unsophisticated consumer would understand it to mean that RMS

would not be required to process the consumer’s dispute unless his dispute specifically

referenced his “claim number.” The plain language of the statute does not require consumers to

reference their account numbers, and RMS cannot condition the processing of consumer disputes

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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 5 of 30 Document 20
on this information. 15 U.S.C. § 1692g(a)(3)-(5). Because RMS’ letter misleads consumers as

to the dispute process, its letter violates the FDCPA as a matter of law, and its motion to dismiss

should be denied.

                                          ARGUMENT

I.     LEGAL STANDARDS

       A.      Standard on a Motion to Dismiss

       A claim for relief must be supported by “a short and plain statement showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2); Erickson v. Pardus, 551 U.S. 89, 93 (2007);

see also Brooks v. Ross, 578 F.3d 574, 580 (7th Cir. 2009). A court must “accept as true all

well-pleaded facts alleged, drawing all possible inferences in the plaintiff’s favor.” Lake v. Neal,

585 F.3d 1059, 1060 (7th Cir. 2009). “[A] complaint attacked by a Rule 12(b)(6) motion to

dismiss does not need detailed factual allegations,” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007), but must only exhibit “facial plausibility” by “plead[ing] factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Plaintiffs are not required to prove their

case at the pleading stage. Brooks, 578 F.3d at 580-81; In re: Text Messaging Antitrust Litig.,

630 F. 3d 622, 629 (7th Cir. 2010).

       “A motion to dismiss under Rule 12(b)(6) doesn’t permit piecemeal dismissals of parts of

claims; the question at this stage is simply whether the complaint includes factual allegations that

state a plausible claim for relief.” Machnik v. RSI Enters., 2017 U.S. Dist. LEXIS 160772, at *3

(E.D. Wis. Sept. 29, 2017) (quoting BBL, Inc. v. City of Angola, 809 F.3d 317, 325 (7th Cir.




                                                 6



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 6 of 30 Document 20
2015)). “Requests for relief as to part of a claim are a matter for summary judgment.” Id. (citing

Fed. R. Civ. P. 56(a)).

        B.      FDCPA Standards

        “The FDCPA was enacted in part ‘to eliminate abusive debt collection practices by debt

collectors’ . . . regardless of the validity of the debt.” Mace v. Van Ru Credit Corp., 109 F.3d

338 (7th Cir. 1997) (quoting 15 U.S.C. § 1692(e)). The FDCPA broadly prohibits unfair or

unconscionable collection methods; and any false, deceptive or misleading statements in

connection with the collection of a debt; it also requires debt collectors to give debtors certain

information. 15 U.S.C. §§ 1692e, 1692f, and 1692g. The FDCPA is a strict liability statute, and

plaintiffs in FDCPA cases do not need to allege or prove intent, bad faith, or negligence.

Randolph v. IMBS, Inc., 368 F.3d 726, 729 (7th Cir. 2004); Ross v. MRS Acquisitions Funding

LLC, 480 F.3d 493, 495 (7th Cir. 2007). Instead, the Seventh Circuit strictly applies the

FDCPA’s “comprehensive and reticulated statutory scheme, involving clear definitions, precise

requirements, and particularized remedies[.]” Evans, 2018 U.S. App. LEXIS 11372, at *14; see,

e.g., Janetos, 825 F.3d at 324 (“Congress decided that the failure to make the disclosure [of the

name of the creditor] is a failure the Act is meant to penalize.”); Jang, 122 F.3d 480, 484 (7th

Cir. 1997) (“it is for Congress, and not the courts, to close this alleged loophole in the

FDCPA.”).

        Whether conduct violates the FDCPA is judged from the standpoint of a hypothetical

“unsophisticated consumer.” Avila v. Rubin, 84 F.3d 222, 227 (7th Cir. 1996); Gammon v. GC

Services, LP, 27 F.3d 1254, 1257 (7th Cir. 1994).2 The standard is objective—whether the


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 Plaintiff’s WCA claims are also evaluated under the “unsophisticated consumer” standard. Brunton v.
Nuvell Credit Corp., 785 N.W.2d 302, 309, 314-15 (Wis. 2010) (discussing Gammon, 27 F.3d at 1257
and adopting the standard “consistent with federal policy.”). Because Plaintiff’s WCA claims are tied to
                                                    7



         Case 2:18-cv-00200-WED Filed 05/30/18 Page 7 of 30 Document 20
plaintiff or any class members were misled is not an element of a cause of action. Bartlett, 128

F.3d at 499. The FDCPA prohibits debt collectors from making false, deceptive, or confusing

statements, and misrepresentations cause concrete harm whether the individual consumer was

personally deceived or not. Bartlett, 128 F.3d at 499; Pogorzelski v. Patenaude & Felix APC,

2017 U.S. Dist. LEXIS 89678, at *6-9 (E.D. Wis. June 12, 2017). The unsophisticated consumer

reads collection letters literally but does not read them idiosyncratically, and the critical question

in evaluating whether a debt collection letter violates the FDCPA is if the letter might similarly

confuse or mislead “a significant fraction of the population[.]” Durkin v. Equifax Check Servs.,

Inc., 406 F.3d 410, 414 (7th Cir. 2005) (quoting Retrieval Masters Creditors Bureau, Inc., 211

F.3d 1057, 1060 (7th Cir. 2000)).

        The Seventh Circuit treats claims that language in a debt collection letter is deceptive,

misleading, or confusing as a question of fact that avoids dismissal on a Rule 12(b)(6) motion if

well-pleaded. Evory v. RJM Acquisitions Funding LLC, 505 F.3d 769, 775-76 (7th Cir. 2007)

(“Other circuits, perhaps less kindly disposed to survey evidence than we, treat the deceptive

character of a debt collector's communication as a question of law, so that if the communication

is not deceptive on its face, the plaintiff is forbidden to try to show that it would be likely to

deceive a substantial number of its intended recipients. We disagree with that position.”); see

also, McMillan v. Collection Professionals, 455 F. 3d 754, 759 (7th Cir. 2006).

Following Evory, the Seventh Circuit has enumerated three categories of FDCPA cases

alleging false or deceptive statements: 1) statements that are plainly not misleading or

deceptive on their face (summary judgment for Defendant); 2) statements that are not


his FDCPA claims, and RMS’ liability under the WCA is premised on its liability under the FDCPA, the
WCA claims need not be discussed independently. (Dkt. No. 19 at 13); see, Al v. Van Ru Credit Corp.,
2018 U.S. Dist. LEXIS 70321, at *10 n.2.
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         Case 2:18-cv-00200-WED Filed 05/30/18 Page 8 of 30 Document 20
plainly misleading or deceptive but might possibly mislead or deceive the unsophisticated

consumer (extrinsic evidence necessary); and 3) statements that are plainly deceptive

communications (summary judgment for plaintiff without extrinsic evidence)). Ruth v.

Triumph P'Ships, 577 F.3d 790, 800-01 (7th Cir. 2009). 3 As expressed in Evory, a

plaintiff need not show confusion or deception to survive a motion to dismiss; the claim

survives as long as the language seems like it could deceive or confuse. Evory, 505 F.3d

at 776-77. The standard for finding that a debt collection letter complies with the

FDCPA as a matter of law at the pleading stage is an extremely heavy burden for a

defendant to meet. McMillan, 455 F.3d at 759. This Court need not decide whether

RMS’ letter is misleading or confusing on its face; it need only consider whether the

letter is “patently not misleading and would not mislead any reasonable consumer, even

an unsophisticated one[.]” Johnson v. Enhanced Recovery Co., LLC, 228 F. Supp. 3d

870, 875 (N.D. Ind. Jan. 17, 2017).

II.    THE STATEMENTS THAT IT IS “IMPORTANT” THAT THE CONSUMER
       PROVIDE HIS RMS CLAIM NUMBERS AND THAT RMS WILL TELEPHONE
       THE CONSUMER CONTRADICT AND OVERSHADOW THE VALIDATION
       NOTICE.

       RMS’ initial collection letter plausibly violates the FDCPA in two ways. First, RMS’

letter falsely states or implies to the unsophisticated consumer that RMS is not required to

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  The complaint in this action alleges violations of 15 U.S.C. §§ 1692e and 1692g. Regardless, the
standards for determining whether the complaint states a claim are the same. McMillan v. Collection
Professionals, Inc., 455 F.3d 754, 760 (7th Cir. 2006) (“We cannot accept the district court’s view that
claims brought under § 1692e or § 1692f are different from claims brought under § 1692g for purposes of
Rule 12(b)(6) analysis.”).

Also, although not necessarily relevant at the pleadings stage, the Seventh Circuit has also enumerated a
fourth type of case under 15 U.S.C. § 1692e, where the plaintiff may proceed to trial on a debt collection
letter’s language alone, when that language is ambiguous and confusing, but not plainly contradictory,
misleading, or deceptive. Muha v. Encore Receivable Mgmt., 558 F.3d 623, 629-30 (7th Cir. 2009); see
also Spuhler v. State Collection Servs., 2017 U.S. Dist. LEXIS 210895, at *20 (E.D. Wis. Dec. 22, 2017).
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         Case 2:18-cv-00200-WED Filed 05/30/18 Page 9 of 30 Document 20
process the consumer’s dispute unless he provides his “claim number.” Second, the letter falsely

states or implies to the unsophisticated consumer that he does not need to initiate contact with

RMS to dispute the debt and prevent RMS from assuming its validity.

       A.      The FDCPA’s statutory debt validation process.

       Congress created the statutory debt validation process because of the “recurring problem

of debt collectors dunning the wrong person or attempting to collect debts which the consumer

has already paid.” Swanson v. Southern Oregon Credit Serv., Inc., 869 F.2d 1222, 1225 (9th Cir.

1988). The straightforward statutory validation process was adopted in 15 U.S.C. § 1692g:

       (a) Notice of debt; contents

               Within five days after the initial communication with a consumer in
               connection with the collection of any debt, a debt collector shall, unless
               the following information is contained in the initial communication or the
               consumer has paid the debt, send the consumer a written notice
               containing—

               (1) the amount of the debt;

               (2) the name of the creditor to whom the debt is owed;

               (3) a statement that unless the consumer, within thirty days after receipt of
               the notice, disputes the validity of the debt, or any portion thereof, the debt
               will be assumed to be valid by the debt collector;

               (4) a statement that if the consumer notifies the debt collector in writing
               within the thirty-day period that the debt, or any portion thereof, is
               disputed, the debt collector will obtain verification of the debt or a copy of
               a judgment against the consumer and a copy of such verification or
               judgment will be mailed to the consumer by the debt collector;

               (5) a statement that, upon the consumer’s written request within the thirty-
               day period, the debt collector will provide the consumer with the name
               and address of the original creditor, if different from the current creditor.

       (b) Disputed debts



                                                 10



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 10 of 30 Document 20
                  If the consumer notifies the debt collector in writing within the thirty-day
                  period described in subsection (a) that the debt, or any portion thereof, is
                  disputed, or that the consumer requests the name and address of the
                  original creditor, the debt collector shall cease collection of the debt, or
                  any disputed portion thereof, until the debt collector obtains verification of
                  the debt or a copy of a judgment, or the name and address of the original
                  creditor, and a copy of such verification or judgment, or name and address
                  of the original creditor, is mailed to the consumer by the debt collector.
                  Collection activities and communications that do not otherwise violate this
                  subchapter may continue during the 30-day period referred to in
                  subsection (a) unless the consumer has notified the debt collector in
                  writing that the debt, or any portion of the debt, is disputed or that the
                  consumer requests the name and address of the original creditor. Any
                  collection activities and communication during the 30-day period may not
                  overshadow or be inconsistent with the disclosure of the consumer’s right
                  to dispute the debt or request the name and address of the original creditor.

       The thirty-day validation period described in 15 U.S.C. § 1692g(a)(3)-(5) and referenced

in 15 U.S.C. § 1692g(b) begins when the consumer receives the validation notice, and the

consumer may mail out a dispute letter on the thirtieth day. E.g., Chauncey v. JDR Recovery

Corp., 118 F.3d 516, 519 (7th Cir. 1997); Jacobson v. Healthcare Fin. Servs., 516 F.3d 85, 95

(2d Cir. 2008).

       Each dispute-related subsection of 15 U.S.C. § 1692g(a) informs the consumer that she

has certain rights. First, 15 U.S.C. § 1692g(a)(3) informs the consumer that the debt collector

may not assume the debt is valid until the consumer’s thirty-day validation period has lapsed.

See Avila, 84 F.3d at 226 (“Essentially, the notice required by § 1692g must tell the target that

she has 30 days to dispute the validity of all or a portion of the debt. If not disputed, the debt

collector may assume the debt to be valid.”). Second, 15 U.S.C. § 1692g(a)(4) informs the

consumer that, if she communicates her dispute in writing, the debt collector will obtain and

provide verification of the debt. 15 U.S.C. § 1692g(b); see also, Jang v. A.M. Miller & Assocs.,

122 F.3d 480, 483 (7th Cir. 1997) (debt collector is not actually required to obtain verification if


                                                   11



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 11 of 30 Document 20
it ceases collection instead). And third, 15 U.S.C. § 1692g(a)(5) informs the consumer that, if

the original creditor has sold the debt to a third party, and the consumer makes a written request

for the original creditor’s name and address, the debt collector will obtain and provide this

information. 15 U.S.C. § 1692g(b); see also, Jang, 122 F.3d at 483 (debt collector is also not

required to provide name and address of original creditor if it ceases collection).

       Notably, the FDCPA imposes affirmative duties to provide verification on debt collectors

who receive written disputes through 15 U.S.C. § 1692g(a)(4)-(5). Importantly, though, the

consumer can prevent the debt collector from assuming a debt is valid without disputing the debt

in writing. Evans, 2018 U.S. App. LEXIS 11372, at *15 n.6 (“In fact, the debtor need not even

put the dispute in writing to comply with § 1692e(8).”). “Thus, subsection 1692g(a)(3) provides

some protection to those consumers who dispute a debt but are unable to do so in writing,

perhaps the very consumers who are more likely to be unsophisticated.” Spearman v. Tom Wood

Pontiac-GMC, 2002 U.S. Dist. LEXIS 24389, at *27-28 (S.D. Ind. Nov. 4, 2002). Hence, under

§ 1692g(a)(3), a debt collector may not assume a debt is valid if it has been actually disputed,

and even if it has not yet been disputed, the debt collector may not assume it is valid until the

validation period has closed. Avila, 84 F.3d at 226; Spearman, 2002 U.S. Dist. LEXIS 24389, at

*26 (“if a dispute is received within thirty days, then the debt collector may not assume the debt

is valid.”). The assumption that a debt is valid has important implications to the consumer and

the debt collector. See, e.g., Trull v. GC Servs. Ltd. Pshp., 961 F. Supp. 1199, 1205 (N.D. Ill.

Mar. 24, 1997) (debt collector’s statement that “we assume this debt is correct” impermissibly

overshadowed and contradicted the notice that the debt collector would not assume the debt was

valid until the validation period had run).



                                                 12



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 12 of 30 Document 20
       The FDCPA further requires that the disclosures 15 U.S.C. § 1692g(a) requires----the

amount of the debt, the name of the creditor to whom the debt is owed, and the consumers’ rights

to dispute the debt---be made in a non-confusing manner. E.g., Chuway v. Nat’l Action Fin.

Servs., 362 F.3d 944, 949 (7th Cir. 2004) (debt collector violates 15 U.S.C. § 1692g(a)(1) by

disclosing the amount of the debt in a confusing manner); Janetos v. Fulton Friedman &

Gullace, L.L.P., 825 F.3d 317, 323 (7th Cir. 2016) (debt collector violates 15 U.S.C. §

1692g(a)(2) by disclosing the name of the creditor in a confusing manner); Chauncey v. JDR

Recovery Corp., 118 F.3d 516, 519 (7th Cir. 1997) (debt collector violates 15 U.S.C. §§

1692g(a)(3)-(5) by confusing consumers about the length of the validation period); Bartlett v.

Heibl, 128 F.3d 497, 500-01 (7th Cir. 1997) (debt collector violates 15 U.S.C. §§ 1692g(a)(4)-(5)

FDCPA by stating that debtor could be sued during the validation period without explaining that,

if the consumer disputed the debt in writing, the debt collector would not sue the debtor until

after verification). Following the Seventh Circuit and courts throughout the country, Congress

amended 15 U.S.C. § 1692g(b) to statutorily prohibit communication that is inconsistent with

these disclosures. 15 U.S.C. 1692g(b) (“Any collection activities and communication during the

30-day period may not overshadow or be inconsistent with the disclosure of the consumer’s right

to dispute the debt or request the name and address of the original creditor.”).

       RMS’ letter violates this statutory prohibition in two ways. First, RMS’ letter states that

it is “IMPORTANT” that consumers provide their claim numbers in “all communications.”

RMS must process a consumer’s dispute whether he references his claim number or not. Even

assuming RMS does, in fact, process consumer’s disputes without a claim number, other debt

collectors could use similar form letters representing that it is “IMPORTANT” that the consumer



                                                 13



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 13 of 30 Document 20
provide this information to deceive consumers into believing their disputes had not been

communicated effectively. Second, RMS’ letter states that the consumer should expect a

telephone call from RMS, which directly contradicts the disclosure that the consumer must notify

the debt collector to prevent it from assuming the debt is valid. The statement that RMS will call

the consumer during the validation period leads the consumer to believe he can wait until RMS

calls, and dispute the debt at that time. Since RMS may not be able to call the consumer at all,

let alone call him during the validation period---after which RMS would assume the debt was

valid---the statement that the consumer should expect to receive a call during the validation

period misleads and confuses the consumer about his dispute rights.

       A. The statement that it is “important” for the consumer to provide his RMS
          Claim Number is plainly deceptive and misleading, and confuses the consumer
          about his statutory rights.

       A debt collector is required to process a consumer’s dispute whether or not the consumer

provides his account number, and the debt collector may not impose extra-statutory hurdles on

consumers to reduce the number of disputes they need to process. RMS’ statement that it is

“IMPORTANT” that the consumer provide his “CLAIM NUMBER IN ALL

COMMUNICATIONS” is materially misleading because the consumer would understand it to

mean that RMS would not process a dispute that did not reference his claim number. If the

consumer disputed the debt without providing his claim number and RMS did not cease

collection or provided inadequate verification, RMS could direct the consumer to this language,

and mislead him to believe RMS was not required to process the dispute.

           1.      The unsophisticated consumer would understand RMS’ statement that it
                   was “IMPORTANT” that he provide his claim number to mean that
                   RMS would not process his dispute without his claim number.



                                                14



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 14 of 30 Document 20
       RMS provided the validation notice on the reverse side of its letter. On the face of the

letter, and separate from the validation notice, RMS stated: “IMPORTANT: REFER TO CLAIM

NUMBER IN ALL COMMUNICATIONS.” Plaintiff alleges that the unsophisticated consumer

would understand the above language to mean that RMS would not process the consumer’s

dispute unless he provided his claim number when he disputed the debt. RMS argues that this

language “is not an added requirement, but instead a way to ensure that RMS is able to

efficiently verify the debt by including identifying information on the dispute.” (Dkt. No. 19 at

6). According to RMS, “RMS routinely has multiple accounts placed for collection involving

the same individual[,]” and RMS needs the account number because “[a] consumer may seek to

dispute one of the accounts but not dispute another.” (Dkt. No. 19 at 7). But, unfortunately for

RMS, the consumer has no duty to streamline the dispute process to make things easy for debt

collectors. E.g., Bowse v. Portfolio Recovery Assocs., LLC, 218 F. Supp. 3d 745, 751 (N.D. Ill.

Nov. 2, 2016) (“While directing a letter to the disputes department may have been a more precise

method of indicating a dispute, the FDCPA does not designate a specific recipient for dispute

letters.”), aff’d by, Evans, 2018 U.S. App. LEXIS 11372.

       RMS relies on Thomollari v. CMRE Fin. Servs., Case No. 17-cv-533, Decision and Order

dated August 28, 2017 (“Thomollari”), to support its position that RMS did not violate the

FDCPA simply because it requested the consumer’s claim number. But RMS’ argument

misinterprets Thomollari, and glosses over key factual differences.

       Thomollari is inapposite because the purported request for the consumer’s account

number was communicated with different language and within a different context from RMS’s

letter. In Thomollari, the Court found that CMRE’s letter “merely requests” the consumer’s



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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 15 of 30 Document 20
account number. Thomollari, No. 17-cv-533, at 6-7. But the “request” in this case differs from

the request in Thomollari in two important ways: 1) RMS states that it is “IMPORTANT” that

consumers provide their account numbers; and 2) RMS’ “request” was not located within the

validation notice.

                     i.   RMS states the claim number is “IMPORTANT.”

       In Thomollari, the court found the debt collector’s statement that “Your letter should refer

to the above-referenced CMRE account number, and statement date,” was simply “asking the

consumer to reference CMRE’s account number[.]” Thomollari, No. 17-cv-533, at 4, 6-7

(emphasis added).4

       Unlike CMRE, RMS does not simply “ask” the consumer to reference his claim number,

it tells him that it is “IMPORTANT” that he do so. If a consumer communicated his dispute

without providing his “claim number,” and RMS (or another debt collector using the same form

letter) responded by informing him the dispute was ineffective because he did not provide his

“claim number,” the unsophisticated consumer would undoubtedly believe it was not required to

process the dispute because he was at fault for not providing this “IMPORTANT” information.

       RMS appears to argue that this is not a material misrepresentation because RMS would

not act so unscrupulously, (Dkt. No. 19 at 7) (the statement “is not an added requirement”), but

RMS cannot use its own intentions as a safety valve where other debt collectors could potentially

use the same form language. Janetos v. Fulton Friedman & Gullace, LLP, 825 F.3d 317, 325

(7th Cir. 2016) (confusion as to the creditor’s identity was material even though the debt

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 To any extent that Thomollari suggests that a district court may reinterpret compulsory language in a
debt collection letter as being permissive based on its own understanding of that language, it should not
be followed. Al v. Van Ru Credit Corp., 2018 U.S. Dist. LEXIS 70321, at *3-4 (quoting McMillan, 455
F.3d at 759). Notably, the plaintiff in Thomollari filed an appeal of the ruling on the motion to dismiss,
and voluntarily dismissed the appeal. Thomollari v. CMRE Fin. Svcs., Appeal No. 17-3379 (appeal filed
Nov. 20, 2017) (Appellate Dkt. No 5-9).
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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 16 of 30 Document 20
collector was actually authorized to collect debts on the creditor’s behalf because “not all

consumer debtors will be so lucky.”); Pantoja v. Portfolio Recovery Assocs., LLC, 78 F. Supp.

3d 743 (N.D. Ill. 2015); aff’d, 852 F.3d 679 (7th Cir. 2017) (“Defendant’s argument that the

statute of limitations is not revived because its policy is not to revive time-barred debts is pure

sophistry. The debt is revived by operation of law, not at defendant's election.”). The issue is not

whether RMS actually attempts to avoid processing disputes, it is whether the consumer could

understand the statement to mean that RMS could avoid processing them. The FDCPA prohibits

communication that conflicts with the disclosure of the dispute rights, even if the debt collector’s

actual validation practices otherwise comply with 15 U.S.C. § 1692g. 15 U.S.C. § 1692g(b);

e.g., Barlett, 128 F.3d at 500; see also, Bishop v. Ross Earle & Bonan, P.A., 817 F.3d 1268, 1274

(11th Cir. 2016) (“We reject the notion that § 1692g gives debt collectors discretion to omit the

‘in writing’ requirement or cure improper notice by claiming waiver.”). At the pleadings stage,

RMS is not entitled to its self-serving interpretation that the unsophisticated consumer would

understand its “IMPORTANT” instruction to reference the consumer’s claim number to be a

mere “request.” (Dkt. No. 19 at 7).

                 ii.   The unsophisticated consumer could miss the instruction to include
                       the claim number because it is outside the validation notice.

       Relatedly, RMS’ letter also differs from the letter in Thomollari because the request in the

Thomollari letter was found inside the validation notice. Thomollari, No. 17-cv-533 at 4. Thus,

there was no way for the consumer to read the validation notice without knowing the request

applied to all dispute letters. Thomollari was not decided on materiality grounds but a potential

materiality issue was clearly central to its reasoning: “the letter merely requests that when

disputing the debt the consumer reference two pieces of information . . . which are found on the


                                                 17



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 17 of 30 Document 20
letter itself.” Thomollari, No. 17-cv-533 at 6-7 (emphasis added).5 Materiality implicitly

underpins the Thomollari reasoning: since the account number was in the letter itself, requesting

that information would not burden the consumer. And there was no potential for deception:

because the request itself was in the validation notice, and because the court found that nothing

in CMRE’s letter implied that CMRE would not process a dispute if the consumer did not

provide the requested information, there was no concern that the consumer might attempt to

communicate his dispute without providing this information, only to be later informed that

CMRE avoided processing the dispute because he did not provide his account number.

       Unlike the debt collector in Thomollari, RMS tells the consumer it is “IMPORTANT” to

provide his claim number on the first page of its letter, but provides the validation notice on its

reverse side. As a result, it is entirely plausible that the consumer might not realize that the debt

collector “needed” this “IMPORTANT” information to process his dispute until RMS pointed it

out to him after he submitted the dispute (and after the statutory thirty-day period had lapsed).

Although RMS argues that it processes consumers’ disputes whether or not they provided their

claim numbers, the Court cannot make an exception for RMS where unscrupulous debt collectors

might potentially use the same form letter. See Janetos, 825 F.3d at 325; McCabe v. Crawford &

Co., 272 F.Supp.2d 736, 742-44 (N.D. Ill. July 8, 2003) (rejecting the argument that a debt

collector’s voluntary policy to honor oral disputes excused the failure to state that verification

rights must be invoked in writing) (citing Grief v. Wilson, Elser, Moskowitz, Edelman & Dicker,

LLP, 217 F. Supp. 2d 336, 340 (E.D.N.Y. 2002)); see also, Nero v. Law Office of Sam Streeter,


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  Notably, the issues in Thomollari were not decided by the Seventh Circuit because the Thomollari case
was resolved before the Seventh Circuit heard the appeal. RMS also makes a materiality argument that
“the validation notice includes the claim number and simply requests the consumer to include it on the
dispute.” (Dkt. No. 19 at 9-10). Under Janetos, whether the consumer’s “claim number” was on the
letter itself is not relevant to the § 1692g claims. 825 F.3d at 324.
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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 18 of 30 Document 20
P.L.L.C., 655 F. Supp. 2d 200, 206 (E.D.N.Y. Sept. 10, 2009) (“[i]t makes no difference whether

Streeter Law would have honored an oral request.”).

           2.      The FDCPA does not allow debt collectors to avoid processing disputes
                   simply because an alleged debtor did not provide his account number.

       Nothing in the FDCPA allows the debt collector to condition processing a dispute on the

consumer providing his account number, and 15 U.S.C. § 1692e prohibits the debt collector from

deceiving the consumers into believing it needs this information. There are no magic words that

debtors must use to dispute their debts. Evans, 2018 U.S. App. LEXIS 11372, at *14 (The

FDCPA “does not require that the Letter use the word ‘dispute.’”); see also, DeKoven, 599 F.3d

at 582 (“‘dispute’ is a term of art in the Fair Debt Collection Practices Act.”). The debt collector

cannot reinterpret a dispute letter as being anything other than a dispute, Evans, 2018 U.S. App.

LEXIS 11372, at *14-15, and the consumer triggers his dispute rights as long as he timely

objects to the debt collector’s allegation that he owes the debt. Gruber v. Creditors' Prot. Serv.,

742 F.3d 271, 274 (7th Cir. 2014). Any “request to verify the existence of a debt constitutes a

‘dispute’ under the Act[] . . . because unsophisticated consumers cannot be expected to assert

their rights in legally precise phrases.” Gruber, 742 F.3d at 274; see also, Evans, 2018 U.S.

App. LEXIS 11372, at *14-15.

       A debt collector cannot impose, or claim to impose, additional, extra-statutory

requirements on a debtor who wishes to dispute a debt. As long as the debt provides the debt

collector with a written notice of dispute within the thirty-day statutory validation period, the

debt collector must process the dispute as set out in the FDCPA and the WCA. E.g., 15 U.S.C. §

1692g(b); Wis. Stat. § 427.104(1)(f) (“a debt collector may not---disclose information

concerning the existence of a debt known to be reasonably disputed by the customer without


                                                 19



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 19 of 30 Document 20
disclosing the fact that the customer disputes the debt.”). For example, Evans addressed a debt

collector's duty to process client representation letters where the statement “‘the amount reported

is not accurate’ is tucked . . . into the representation letters’ . . . between the statements: ‘This

client regrets not being able to pay’; and ‘If their circumstances should change, we will be in

touch.’” Evans, 2018 U.S. App. LEXIS 11372, at *15 n.7. The Seventh Circuit held that the

debt collector violated the FDCPA by reporting the debts to consumer reporting agencies without

the “disputed” flag. See 15 U.S.C. § 1692e(8). The Seventh Circuit rejected the debt collector’s

argument that the language disputing the debt was ambiguous and the letter was not sent to the

debt collector's disputes department. Evans, 2018 U.S. App. 11372, at *13-15.

       Congress has expressly set forth a specific process for consumers who wish to dispute

their debts. Debt collectors may not circumvent the congressional mandate that they verify (or

stop collecting) those debts as long as consumers follow the statutory process. Unlike the

primarily automated debt collection process writ large, dispute letters and verification requests

must be processed by hand, and sometimes by an attorney’s hand. See Blarek v. Encore

Receivable Mgmt., 2007 U.S. Dist. LEXIS 22549, at *36-42 (E.D. Wis. Mar. 27, 2007) (the

hand-processed validation process is not a procedure reasonably adapted to avoid creditor

identification errors made during the automated debt collection process). Hence, debt collectors

are strongly motivated to avoid processing disputes because written disputes both cause debt

collectors to incur costs of time and money to validate debts, and also put the collector at risk of

FDCPA liability for the subsequent communications related to validation. See, e.g., Haddad v.

Alexander, Zelmanski, Danner & Fioritto, PLLC, 758 F.3d 777, 785-86 (6th Cir. 2014) (debt

collector’s response to consumer’s verification request was insufficient and violated 15 U.S.C.



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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 20 of 30 Document 20
§§ 1692e and 1692g). Debt collectors may also be concerned that creditors, who must also

respond to validation requests, would be hesitant to refer accounts to debt collectors whose

letters result in disputes, “wasting” the creditors’ time by requiring responses. In passing the

FDCPA, Congress set out a process for consumers to dispute debts, and deliberately made that

process simple and straightforward “to eliminate abusive debt collection practices,” 15 U.S.C. §

1692(e), including the collection of unverifiable debts. Debt collectors cannot avoid verifying

debts by superimposing extra-statutory steps onto that simple, straightforward, statutory process.

       The debt collector cannot condition processing disputes on inclusion of specific account

information. McKinney v. Cadleway Props., Inc., 548 F.3d 496, 504 (7th Cir. 2008) (request that

consumer confirm amount owed was not confusing because “[t]he form does nothing to imply

that confirmation is obligatory.”). To communicate a dispute, “one only need write a letter . . .

and state simply, ‘I dispute the debt.’ These four words alone activate all of [the debt

collector’s] obligations under the FDCPA.” McKinney, 548 F.3d at 507 (J. Rovner, concurring

in part and dissenting in part); see also, Sengenberger v. Credit Control Servs., 2010 U.S. Dist.

LEXIS 43874, at *9-10 (N.D. Ill. May 5, 2010). In fact, Sengenberger concerned this exact

issue. Id. The debt collector contacted the plaintiff on his cell phone, potentially in violation of

the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227(b)(1)(A)(iii) (prohibiting

autodialed and prerecorded message calls to wireless numbers without consent). The defendant

argued that the plaintiff had previously consented to calls from the creditor, which consent could

be imputed to the debt collector. Id. at *9. The plaintiff argued that any prior consent given to

the creditor had been revoked because he had disputed the debt in writing pursuant to 15 U.S.C.

§ 1692g. Id. at *9. Judge Zagel rejected the defendant’s argument that the plaintiff’s written



                                                 21



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 21 of 30 Document 20
notice of dispute was not effective “because it did not contain any information as to the specific

account number and because Plaintiff’s zip code was incorrect.” Id. at *10. “[T]he statute does

not explicitly name either of those criterion as necessary to halt collection calls regarding

disputed debts.” Id. In a later case, Judge Zagel made it clear that the critical issue in

Sengenberger was that the plaintiff had effectively disputed the debt under the FDCPA. Frausto

v. IC Sys., 2011 U.S. Dist. LEXIS 93514, at *8 (N.D. Ill. Aug. 22, 2011). Sengenberger was

decided before Gruber and Evans and does not cite McKinney or DeKoven, but the decision

accords with the plain language of the FDPCA and the Seventh Circuit cases holding that a

debtor can dispute a debt without using any magic words or providing any specific information.

Gruber, 742 F.3d at 274; DeKoven 599 F.3d at 582.6

       Moreover, RMS’ argument that it needs the account’s claim number if it has more than

one account for an individual consumer, (Dkt. No. 19 at 7), is meritless. If RMS cannot identify

which account the consumer disputes, the proper course is to simply mark all of those debts as

disputed, and provide verification for each one. See Washington v. Convergent Outsourcing,

Inc., 2017 U.S. Dist. LEXIS 41814, at *6-7 (N.D. Ill. Mar. 23, 2017) (jury could conclude that

the consumer’s dispute that “the amount reported [was] not accurate” could mean the consumer

cable bill dispute applied to the service fee debt and the equipment fee debt).

       RMS cannot simply avoid processing disputes because the consumer did not reference his

claim number and it cannot deceive consumers into believing it can. While providing an account


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  Although Sengenberger correctly analyzed the effectiveness of the consumer’s written dispute under the
FDCPA, the TCPA does not actually require consumers to revoke consent in writing. ACA Int’l v. FCC,
885 F.3d 687, 692 (D.C. Cir. 2018) (“We uphold the [Federal Communication] Commission’s approach
to revocation of consent, under which a party may revoke consent through any reasonable means clearly
expressing a desire to receive no further messages from the caller.”); see also, Beal v. Wyndham Vacation
Resorts, Inc., 956 F. Supp. 2d 962, 976-77 (W.D. Wis. June 20, 2013) (“Consumers have the right to
revoke to consent [and] they may do so orally or in writing.”).
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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 22 of 30 Document 20
number may not seem like much of a burden, the consumer may not see the “request” for this

“IMPORTANT” information until it is too late. He may miss a number in his 10-digit “claim

number” or accidentally provide his “reference number” instead of his “claim number.” Or the

number may be illegible because of bad penmanship, inadvertent ink smudges, or insufficient

toner. RMS cannot mislead the consumer to believe that RMS can actually condition processing

disputes on providing this information, but RMS’s letter plausibly does exactly that. 15 U.S.C.

§§ 1692e, 1692e(10), and 1692g(b).

       B. The statement that the consumer should expect a phone call from RMS violates
          the FDCPA because it expressly contradicts, overshadows, and confuses the
          disclosure that the debt collector will assume the debt is valid unless the
          consumer notifies the debt collector that the debt is disputed within thirty days
          from receipt of the notice.

       A debt collection letter that tells the consumer to expect a call from the debt collector

during the validation period overshadows the statutorily required disclosure that the debt

collector will assume the debt is valid unless the consumer notifies the debt collector that the

debt is disputed during the validation period. See 15 U.S.C. 1692g(a)(3). In the Seventh Circuit,

a consumer triggers protection under 15 U.S.C. § 1692g(a)(3) if he disputes the debt by

telephone. See, e.g., O’Boyle v. GC Servs. 2018 U.S. Dist. LEXIS 82991, at *8 (E.D. Wis. May

17, 2018) (“a dispute under § 1692g(a)(3) need not be in writing.”) (citing Evans, 2018 U.S.

App. LEXIS 11372, at *13, *15 n.6); see also, Smith v. GC Servs. L.P., 2017 U.S. Dist. LEXIS

93710, at *5-8 (S.D. Ind. June 19, 2017) (collecting cases and concluding that “whereas

Subsections 1692g(a)(4) and (a)(5) include a writing requirement, the text of the Subsection

1692g(a)(3) ‘plainly does not.’” (quoting Clark v. Absolute Collection Serv., Inc., 741 F.3d 487,

490 (4th Cir. 2014)).



                                                 23



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 23 of 30 Document 20
       15 U.S.C. § 1692g(a)(3) protects consumers in two distinct, but related, ways. First, if the

consumer actually disputes the debt during the validation period, the debt collector cannot

assume the debt is valid. Second, it prevents the debt collector from assuming any debt is valid

during the validation period. Durkin, 406 F.3d at 416 (“After this thirty-day validation period

expires, the debt collector may assume that the debt is valid.”) (emphasis added); see Avila, 84

F.3d at 226 (“[S]he has 30 days to dispute the validity of the debt. If not disputed, the collector

may assume the debt to be valid.”) (emphasis added); Booth v. Collection Experts, 969 F.Supp.

1161, 1165 (E.D. Wis. Mar 18, 1997) (quoting Avila); Trull, 961 F. Supp. at 1205 (statement that

“we assume this debt is correct” overshadowed § 1692g(a)(3) disclosure); Palmer v. Stassinos,

348 F. Supp. 2d 1070, 1083 (N.D. Calif. Dec. 14, 2004) (“the debtor has thirty days to dispute

the validity of the debt, after which the collector will assume the debt to be valid.”); see also 15

U.S.C. § 1692g(b).

           1.      The unsophisticated consumer would understand RMS’ statement that he
                   should expect a call from RMS if he had not already been contacted to
                   mean that RMS would call him during the validation period.

       How an unsophisticated consumer would interpret language in a debt collection letter is a

question of fact, and the court cannot dismiss an FDCPA claim at the pleadings stage as long as

that claim is based on a plausible interpretation of the collection letter. Evory, 505 F.3d at 776-

77. On a motion to dismiss, the court does not need to consider whether the unsophisticated

consumer would actually be misled or confused by RMS’ statement that he would be receiving a

call during the validation period; the court need only decide whether the statement is “patently

not misleading and would not mislead any reasonable consumer, even an unsophisticated one[.]”

Johnson, 228 F. Supp. 3d at 875.



                                                 24



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 24 of 30 Document 20
       In any case, the statement is patently misleading. The unsophisticated consumer, reading

RMS’ letter, would undoubtedly expect RMS to call him during the thirty-day validation period.

RMS’ letter states: “If you have not yet been contacted by an RMS representative, you will be

receiving a call to bring this matter to a resolution.” (Am. Compl. ¶ 17, Exhibit A). The letter,

on its face, suggests that a call is imminent, even suggesting that an RMS representative may

already have contacted the consumer. Moreover, the next sentence actually leaves the consumer

with the impression that a call is even more imminent: “Should you receive this letter after a

discussion with our representative, we thank you for your cooperation.” (Am. Compl. ¶ 17,

Exhibit A). RMS argues that “[a]ny unsophisticated consumer would take this to mean that a

phone call regarding resolving the matter could have already happened, but that they still have

the right to dispute the debt in writing because the validation notice is still included for the

consumer.” (Dkt. No. 19 at 10). Of course, RMS’ proposed interpretation makes no sense

unless the consumer had, in fact, actually taken a call from RMS. A call either happened or did

not, and any consumer who RMS had not called, or who RMS attempted to call but did not

reach, would think a call was imminent, not that it “could have already happened.” (Am. Compl.

¶ 38). The recipient of the letter would know if he had taken a call from RMS, and would not

adopt RMS’ proposed “Schröedinger’s Cat” interpretation. (Am. Compl. ¶ 31).

           2.      Telling the consumer to expect a telephone call from the debt collector
                   during the validation period contradicts and overshadows the disclosure
                   that the debt collector will assume the debt is valid unless the consumer
                   notifies the debt collector that it is disputed within thirty days from
                   receiving the validation notice.

       An initial debt collection letter cannot make the unsophisticated consumer believe that the

debt collector will call him during the validation period because this directly conflicts with the



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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 25 of 30 Document 20
statutorily required disclosure that the debt collector will assume the debt is valid unless the

consumer notifies the debt collector that there is a dispute. RMS argues that the representation

that it will call the consumer during the validation period does not contradict the consumer’s

right to dispute the debt in writing under 15 U.S.C. § 1692g(a)(4) because the representation that

RMS will call the consumer does not imply that RMS will provide verification if the consumer

disputes the debt by phone. (Dkt. No. 19 at 12-13). RMS’ argument ignores entirely the fact

that a debt collector may overshadow the § 1692g(a)(4) disclosure by encouraging the debtor to

dispute the debt orally even if it does not expressly say it will verify the debt upon oral dispute.

E.g., Flowers v. Accelerated Bureau of Collections, 1997 U.S. Dist. LEXIS 3354, at *17-20

(N.D. Ill. Mar. 13, 1997), modified on reconsideration, 1997 U.S. Dist LEXIS 6070 (N.D. Ill.

Apr. 29, 1997). In fact, it is well-established both within and outside the Seventh Circuit that a

debt collector may not imply that consumers should communicate their disputes orally because

this engenders confusion and encourages consumers to forego their rights to require that debt

collectors verify debts.7 RMS also does not address the claim that the statement is inconsistent


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 See Osborn v. Ekpsz, LLC, 821 F. Supp. 2d 859, 870 (S.D. Tex. Sept. 26, 2011) (collecting cases and
concluding that “[e]very district court to consider the issue has held that a debt collector violates §
1692g(a) by failing to inform consumers that requests under subsections (a)(4) and (a)(5) must be made in
writing.”); see also, McCabe v. Crawford & Co., 272 F.Supp.2d 736, 742-44 (N.D. Ill. July 8, 2003)
(omitting the words “in writing” from the validation notice conflicted with and overshadowed the
consumer’s statutory right to trigger verification); Chandler v. Eichel, 2017 U.S. Dist. LEXIS 156168, at
*9 (S.D. Ind. Sept. 25, 2017); Crafton v. Law Firm of Levine, 957 F.Supp.2d 992, 998 (E.D. Wis. July 9,
2013); Bicking v. Law Offices of Rubenstein & Cogan, 783 F.Supp.2d 841, 845 (E.D. Va. May 5, 2011);
Welker v. Law Office of Daniel J. Horowitz, 699 F.Supp.2d 1164, 1170 (S.D. Cal. 2010); Hernandez v.
Guglielmo, 2012 U.S. Dist. LEXIS 39686, at *5-6 (D. Nev. Mar. 23, 2012); Beasley v. Sessoms &
Rogers, P.A., 2010 U.S. Dist. LEXIS 52010 (E.D. N.C. Mar. 1, 2010); Nero v. Law Office of Sam
Streeter, P.L.L.C., 655 F.Supp.2d 200, 206 (E.D.N.Y. Sept. 10, 2009); Chan v. N. Am. Collectors, Inc.,
2006 U.S. Dist. LEXIS 13353, at *16 (N.D. Cal. Mar. 24, 2006); Grief v. Wilson, Elser, Moskowitz,
Edelman & Dicker, LLP, 217 F.Supp.2d 336, 340 (E.D.N.Y. Aug. 19, 2002); Carroll v. United
Compucred Collections, 2002 U.S. Dist. LEXIS 25032, at *28 (M.D. Tenn. Nov. 15 2002); Woolfolk v.
Van Ru Credit Corp., 783 F. Supp. 724, 726 (D. Conn. Oct. 2, 1990); Caprio v. Healthcare Revenue
Recovery Group, LLC, 709 F.3d 142, 151-152 (3d Cir. 2013); Rhoades v. West Virginia Credit Bureau
Reporting Servs., 96 F. Supp. 2d 528, (S.D. W. Va. May 10, 2000); O’Chaney v. Shapiro & Kreisman,
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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 26 of 30 Document 20
with the dispute process because RMS would be required to cease collecting the debt if the

consumer disputed it in writing while it provided verification, in which case RMS would not call

the consumer until after it provided verification, and could not call him at all unless the debt was

actually valid. Finally, RMS utterly fails to address Plaintiff’s claim that informing the

consumer that he can expect a call from the debt collector directly overshadows and contradicts

the § 1692g(a)(3) disclosure that the consumer must notify the debt collector about a dispute to

prevent the debt collector from assuming the debt is valid. (Am. Compl. ¶¶ 31, 68).

       The consumer is not required to communicate his dispute in writing unless he wishes to

receive verification of the debt, e.g., Smith, 2017 U.S. Dist. LEXIS 93710, at *7-8; see also,

Evans, 2018 U.S. App. LEXIS 11372, at *14-15 n. 6, and unsophisticated consumers are

especially reliant on the proper disclosure that they must take affirmative action to notify the

debt collector that the debt is disputed if they wish to enjoy protection under 15 U.S.C. §

1692g(a)(3). See Walters v. PDI Mgmt. Servs., 2004 U.S. Dist. LEXIS 13972, at *17 (S.D. Ind.

Apr. 6, 2004) (consumers who dispute debts orally are “perhaps the very consumers who are

more likely to be unsophisticated.”) (quoting Spearman, 2002 U.S. Dist. LEXIS 24389, at *7).

The representation that the debt collector will call him during the validation period is necessarily

inconsistent with the disclosure that the consumer must affirmatively notify the debt collector to

prevent it from assuming the debt is valid. The unsophisticated consumer would believe that he

can simply wait for the debt collector to call him, and dispute the debt at that time.

       RMS attempts to avoid liability for this obvious contradiction by falsely arguing that

consumers must exercise their rights under 15 U.S.C. § 1692g(a)(3) in writing, but this is not the

law in the Seventh Circuit. Compare (Dkt. No. 12 at 12) (“The validation notice is

LLC, U.S. Dist. LEXIS 5116, at *12-13 (Mar. 25, 2004); see also, Flowers, 1997 U.S. Dist. LEXIS 3354,
at *18-19.
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        Case 2:18-cv-00200-WED Filed 05/30/18 Page 27 of 30 Document 20
communicating Plaintiff’s rights to him, and notifying him that the dispute must be in writing.”)

with, e.g., Spearman, 2002 U.S. Dist. LEXIS 24389, at *26-29; Evans, 2018 U.S. App. LEXIS

11372, at *14-15 n.6. Thus, if the letter did in fact communicate the message RMS argues it

does, that message would violate the FDCPA. Smith, 2017 U.S. Dist. LEXIS 93710, at *7-8.

       But, notwithstanding what RMS argues its letter says, it properly informs the consumer

that she may communicate her dispute orally. “Unless you notify this office within 30 days . . .

that you dispute the debt . . . this office will assume this debt is valid.” (Am. Compl., ¶ 15,

Exhibit A) (emphasis added); 15 U.S.C. § 1692g(a)(3). But RMS overshadows that disclosure

by telling the consumer that he does not need to call RMS because he “will be receiving a call to

bring this matter to a resolution.” (Am. Compl. ¶ 17, Exhibit A). The letter clearly implies that

the consumer does not need to call RMS to dispute the debt because he can dispute it when RMS

calls him. RMS argues that the debt collector can legally demand payment and pursue collection

efforts during the validation period, (Dkt. No. 19 at 11, 12) (citing Durkin, 406 F.3d at 417), but

this is a red herring. The issue in the case is not whether a debt collector can call the consumer

during the validation period, it is whether telling the consumer that it will call during the

validation period overshadows the disclosure that the debt collector will assume the debt is valid

unless the consumer notifies the debt collector that it is disputed.

       Moreover, even if the debt collector does intend to call the consumer during the validation

period, implying that the consumer does not need to affirmatively contact the debt collector

violates the FDCPA because the debt collector may not have the consumer’s telephone number.

Telephone numbers frequently change, and the number the debt collector has on file may be out-

of-date. (Am. Compl. ¶ 38); see, e.g., Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,



                                                 28



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 28 of 30 Document 20
638 (7th Cir. 2012) (“This suit arises from dozens of automated calls made to cell numbers . . . .

All of the numbers were made in a futile effort to reach previous subscribers to these numbers.”).

Where an alleged debt is owed to a telecommunications company, as it is here, (Am. Compl. ¶

11), it may be especially likely that the telephone number on file is out-of-date because the

creditor likely terminated the consumer’s telephone service. See Soppet, 679 F.3d at 639

(“AT&T plays Creditor; Enhanced Recovery Co. plays the role of Bill Collector.”). Moreover,

because other debt collectors may use identical language in their letters without making follow-

up calls, courts cannot approve collection letters that lead the unsophisticated consumer to

believe that he can prevent the debt collector from assuming the debt is valid without

affirmatively notifying the debt collector about the dispute. Janetos, 825 F.3d at 325; Nero, 655

F. Supp. 2d at 206.

       The unsophisticated consumer, being informed that the debt collector will call him during

the validation period would be left with the impression that he should communicate his dispute

when the debt collector called. The representation overshadows the § 1692g(a)(4) disclosure that

the consumer must communicate the dispute in writing to obtain verification of the debt, and it

overshadows the § 1692g(a)(3) disclosure that the debt collector cannot assume the debt is valid

until the validation period is over, and unless the consumer acts during the validation period it

cannot prevent the debt collector from assuming the debt is valid.




                                                29



        Case 2:18-cv-00200-WED Filed 05/30/18 Page 29 of 30 Document 20
                                       CONCLUSION

       For all the foregoing reasons, Defendant’s motion to dismiss should be denied.

Respectfully submitted,

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                                              30



       Case 2:18-cv-00200-WED Filed 05/30/18 Page 30 of 30 Document 20
